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AO 93 (Rev. 11/13) Search and Seizure Warrant (USAO CDCA Rev, 04/17)

 

UNITED STATES District Court QRIGINAL

for the

Central District of California

In the Matter of the Search of

(Briefly describe the property to be searched or identify the ss
person by name and address) Case No. 8:19-MJ-00790
Seven parcels located at the UPS Store located at
27472 Portola Parkway, Suite 205, Foothill Ranch,
CA, 92610 bearing the following tracking numbers:

(1) EA 079 450 128 HU (5) LT100073076SG
(2) EA 079 450114 HU (6) LT100073093SG

(3) EA 023 730 229HU (7) RT 04 131 643 8 AT
(4) EA 023 730 23 2 HU

hai

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location): See Attachment A

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized): See Attachment B

Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of ils issuance (nor to exceed 14 days)
(XJ in the daytime 6:00 a.m. to 10:00 p.m. [[) at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.

 

[-] Pursuant to 18 U.S.C. § 3103a(b), | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose

property, will be searched or seized (check the appropriate box)

Judge 's signature

(J for___days (nor to exceed 30) ~()_ until, the facts justifying, the later specific date of

 

   

Date and time issued: / & -/6-/4 @ HieS Tas at

 

  

City and state: Santa Ana, CA Honorable John D. Early

Printed name and title

 

AUSA: J, Waier (714) 338-3350

 
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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)
Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
RINF-MJ-o7Go] “fap Je a3 5 Gace Girec

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

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(o> Suite pee, O07 ehh

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: lefa3 [i 4 cs qu

Executing officer's signature

—_swe

Say CS Speces( Besert—

Printed name and title Vv

 

 

 
